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           IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:09CR48
                              )
          v.                  )
                              )
ROY LENOS-PAZ,                )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s

petition/motion for sentence consideration and reduction (Filing

No. 167), and the response of the government to the motion

(Filing No. 170).       On May 28, 2009, the defendant entered a plea

of guilty to Count I of the indictment returned by the Grand

Jury.   That count charged that “from an unknown date but at least

as early as January 1, 2008, up to and including January 22,

2009, the defendant” conspired with others to distribute and

possess with intent to distribute more than 500 grams of a

mixture or substance containing cocaine.

           Pursuant to Title 21, U.S.C. § 841(b)(1)(B), this

charge carries a mandatory minimum sentence of five years.                   On

August 13, 2009, the defendant appeared for sentence and was

sentenced to a term of imprisonment of sixty months.                 The

defendant had previously entered into a plea agreement with the

government which provided that he be held responsible for more

than two kilograms but less than 3.5 kilograms of cocaine and be
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sentenced to a term of imprisonment of sixty months.               The Court’s

sentence adopted that provision of the parties’ plea agreement.

           The defendant now seeks a reduction of his sentence

pursuant to the recent modifications to the guideline sentences

for crack cocaine.      However, Congress has not modified 21 U.S.C.

§ 1841.   Accordingly, any modifications to the guidelines cannot

result in defendant receiving a sentence of less than sixty

months.   In addition, the modifications to which defendant made

reference are not retroactive.       For these reasons,

           IT IS ORDERED that defendant’s petition/motion for

sentence consideration and reduction is denied.

           DATED this 11th day of January, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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